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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:           16-10807-7 REN                                                       Trustee: (360070)           DARCY D WILLIAMSON
Case Name:             RAY, CARL DAVID                                                      Filed (f) or Converted (c): 05/06/16 (f)
                       RAY, DONNA B                                                         §341(a) Meeting Date:       06/07/16
Period Ending:         09/30/18                                                             Claims Bar Date:            01/11/18

                                  1                                      2                         3                          4                  5                    6

                       Asset Description                            Petition/              Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)              Unscheduled         (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                     Values              Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

 1       329 N Lancaster Dr, Wichita, KS                               240,000.00                          0.00                                      0.00                    FA

 2       1401 W Basswood, Andover, KS (Est.) (See Footnote)            110,000.00                      5,500.00                                      0.00           110,000.00

 3       2820 S Chase Ave, Wichita, KS 67217-1312, Sedgwi               80,000.00                          0.00                                      0.00                    FA

 4       2003 Chevrolet Tahoe                                            5,000.00                          0.00                                      0.00                    FA

 5       Furnishings                                                    10,000.00                          0.00                                      0.00                    FA

 6       Electronics                                                         400.00                        0.00                                      0.00                    FA
 7       9mm                                                                 100.00                        0.00                                      0.00                    FA

 8       Clothes                                                         1,500.00                          0.00                                      0.00                    FA

 9       Jewelry                                                         1,000.00                          0.00                                      0.00                    FA

10       Andover State Bank checking account (Est.)                          100.00                      100.00                                      0.00                    FA

11       E-Trade Account Title interest only                             1,222.00                          0.00                                      0.00                    FA

12       Medical Dynamics LLC (Est.)                                           0.00                      100.00                                      0.00                    FA

13       Trinity Medical Group LLC (Est.)                                      0.00                      100.00                                      0.00                    FA

14       Ray Development LLC (Est.)                                            0.00                    5,000.00                                      0.00                    FA

15       Allied Medical LLC (Est.)                                             0.00                      100.00                                      0.00                    FA

16       IRA -David                                                     23,000.00                          0.00                                      0.00                    FA

17       IRA-Donna                                                      13,000.00                          0.00                                      0.00                    FA



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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
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                     RAY, DONNA B                                                                §341(a) Meeting Date:       06/07/16
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                                1                                             2                         3                          4                     5                    6

                       Asset Description                                  Petition/            Estimated Net Value             Property            Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned            Received by       Administered (FA)/
                                                                           Values            Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                    Remaining Assets

18       529 account - Austin Ray                                             4,977.00                           0.00                                         0.00                   FA

19       529 account - Adam Ray                                               5,602.00                           0.00                                         0.00                   FA

20       Possible Avoidance Action- SOFA #7 (Est.)                           20,594.00                      10,000.00                                         0.00                   FA

21       Possible Avoidance Action- SOFA #18 (Est.)                          Unknown                         2,500.00                                         0.00                   FA

22       2016 Federal and State Tax Refunds (u)                              11,103.49                       3,866.59                                    3,866.59                    FA

23       Void-duplicate asset (u)                                                 0.00                           0.00                                         0.00                   FA

23       Assets          Totals (Excluding unknown values)                $527,598.49                    $27,266.59                                     $3,866.59          $110,000.00

     RE PROP# 2         Trustee originally estimated FMV of property to be $110,000 less mortgage and sales costs to arrive
                       at $5500. The Trustee has discerned property was sold at tax foreclosure sale for $107,000 without
                       relief from stay. Taxes were paid and over $88000 was remitted to the debtors (who paid BOA, who
                       did not file and answer in the foreclosure.) Trustee filed an Adversary and the same will be settled
                        for approximately $78,000 upon a Motion and Order.


     Major Activities Affecting Case Closing:
              Investigated value of assets and have only pursued tax refund and 549 (Asset 2). Upon settlement, trustee will need to prepare estate tax returns.




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                                                                        Asset Cases
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                   RAY, DONNA B                                                         §341(a) Meeting Date:       06/07/16
Period Ending:     09/30/18                                                             Claims Bar Date:            01/11/18

                              1                                        2                       3                          4                  5                    6

                     Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): November 30, 2017                 Current Projected Date Of Final Report (TFR): May 30, 2019




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                                                         Cash Receipts And Disbursements Record
Case Number:         16-10807-7 REN                                                              Trustee:         DARCY D WILLIAMSON (360070)
Case Name:           RAY, CARL DAVID                                                             Bank Name:       Rabobank, N.A.
                     RAY, DONNA B                                                                Account:         ******0466 - Checking Account
Taxpayer ID #:       **-***6553                                                                  Blanket Bond:    $25,100,000.00 (per case limit)
Period Ending:       09/30/18                                                                    Separate Bond:   N/A

   1           2                           3                                    4                                       5                     6                     7
 Trans.     {Ref #} /                                                                                                Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From             Description of Transaction          T-Code           $                    $               Account Balance
10/17/17      {22}        U.S. Treasury                    2016 Tax Refund                             1224-000             3,866.59                                    3,866.59
10/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               3,856.59
11/30/17                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               3,846.59
12/29/17                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               3,836.59
01/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               3,826.59
02/28/18      101         Carl David and Donna B. Ray      Non estate funds per Order dated 2/6/2018   8500-002                                   2,378.96              1,447.63
02/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,437.63
03/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,427.63
04/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,417.63
05/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,407.63
06/29/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,397.63
07/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,387.63
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                     10.00               1,377.63
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee            2600-000                                       5.00              1,372.63
                                                                           ACCOUNT TOTALS                                   3,866.59              2,493.96          $1,372.63
                                                                               Less: Bank Transfers                             0.00                  0.00
                                                                           Subtotal                                         3,866.59              2,493.96
                                                                               Less: Payments to Debtors                                              0.00
                                                                           NET Receipts / Disbursements                 $3,866.59             $2,493.96




  {} Asset reference(s)                            Case 16-10807       Doc# 43       Filed 10/25/18     Page 4 of 5                      Printed: 10/22/2018 11:22 AM     V.14.14
                                                                     Form 2                                                                                      Page: 2
                                                   Cash Receipts And Disbursements Record
Case Number:       16-10807-7 REN                                                         Trustee:         DARCY D WILLIAMSON (360070)
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                   RAY, DONNA B                                                           Account:         ******0466 - Checking Account
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Period Ending:     09/30/18                                                               Separate Bond:   N/A

  1           2                   3                                   4                                          5                     6                     7
Trans.     {Ref #} /                                                                                          Receipts          Disbursements            Checking
 Date      Check #       Paid To / Received From           Description of Transaction           T-Code           $                    $               Account Balance


                                                                                                                  Net                Net                   Account
                                                                  TOTAL - ALL ACCOUNTS                          Receipts        Disbursements              Balances
                                                                  Checking # ******0466                              3,866.59              2,493.96              1,372.63

                                                                                                                 $3,866.59             $2,493.96             $1,372.63




 {} Asset reference(s)                      Case 16-10807     Doc# 43      Filed 10/25/18        Page 5 of 5                      Printed: 10/22/2018 11:22 AM     V.14.14
